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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA,
                            BILLINGS DIVISION

DENISE FABRIZIUS and                            )    Cause No. 08-114-BLG-RFC
WILLIAM FABRIZIUS,                              )
                                                )
                    Plaintiffs,                 )
                                                )
      v.                                        )           ORDER
                                                )
                                                )
KEITH R. SHULTZ, M.D.,                          )
YELLOWSTONE SURGERY CENTER,                     )
DOES 1 through X, and Roe Corporations          )
I through X, inclusive,                         )
                                                )
                Defendants.                     )
___________________________________ )


      Currently pending before the Court is Yellowstone Surgery Center’s (YSC)

Motion for Summary Judgment re Negligence and Consortium Claims. This matter

is fully briefed and the Court is prepared to rule without oral arguments.




I. BACKGROUND

      Plaintiff made an appointment to see Dr. Copeland, a Billings neurosurgeon,

on November 10, 2004, for a second opinion regarding pain symptoms. D.

Fabrizius, 88:19-89:12. When he reviewed the previous MRI studies, Dr. Copeland

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saw spondylosis “Most prominently at C6-7 but also at C4-5 and C5-6.” Copeland,

17:14-18:9. However, Dr. Copeland could not find diagnostic answers for the

cause(s) of all her symptoms. Id., 17:14-19:22, 20:22-21:5. The confusion between

the symptoms she described and his objective finding was why “. . . I sent her for an

epidural to see if I could add some clarity.” Id., 87:14-22. He wanted to see if there

was a treatable problem he could help, so a cervical ESI was the next test he wanted

done. Id., 22:21-23:16.

      Dr. Copeland recommended Plaintiff see Dr. Shultz for the ESI. D.

Fabrizius, 168:4-8. The way she remembers it, “Dr. Copeland said something to

the effect that if he knew somebody that was really good at this or – he made me

feel comfortable with the fact that Dr. Shultz would be a good doctor to go to to

have this done.” Id., 92:6-10. Dr. Copeland led Plaintiff “to believe that [Dr.

Shultz] was a good doctor and was good at what he does;” and evidently, that he

preferred Dr. Shultz do the ESI. Id., 168:4-12, 169:3-8. During the consultation

Dr. Copeland arranged and scheduled a C6-7 ESI. Copeland, 26:13-27:14; D.

Fabrizius, 91:12-18. The purposes were to help him make a diagnosis, Copeland,

18:24-19:22, 20:19-21:5, 22:10-23, along with the hope of it being therapeutic for

her. Copeland, 22:24-23:13, D. Fabrizius, 91:6-9.




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      Dr. Copeland’s referral was for Dr. Shultz, who happened to be at the YSC

that day instead of St. Vincent Healthcare or elsewhere. When Plaintiff left Dr.

Copeland’s office she was going to see Dr. Shultz. Id., 168:9-12.

      When Plaintiff arrived at YSC she was informed before the ESI that Dr.

Shultz was an independent contractor in paragraph 1 of the informed consent she

signed:

              The Yellowstone Surgery Center maintains facilities and
              personnel to assist physicians and surgeons as they perform
              various surgical operations and other diagnostic of therapeutic
              procedures. The physicians and surgeons as well as the
              person(s) in attendance for the performance of specialized
              medical services such as anesthesia, radiology, or pathology are
              not agents, servants or employees of the facility, but independent
              contractors and, therefore, are the patient’s agents or servants.


      November 10, 2004 was the only day Plaintiff was at the YSC for care. Doc.

38, Ex. 1. There is no evidence of anyone giving YSC the names of care providers

other than Dr. Copeland and asking that a copy of Plaintiff’s records be sent to

those providers. Id. There is no evidence of any treating physician asking for

Plaintiff’s records directly. Id. With the exception of the unsigned copy of Dr.

Shultz’s report found in Dr. Copeland’s records, there is no evidence of any treating

healthcare provider being sent any of the YSC records regarding Plaintiff’s visit. Id.




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      In his deposition, Dr. Copeland denies reading reports like Dr. Shultz’s in

very close detail because the information is usually not very pertinent and in all

likelihood he already has the information. Copeland depo. 72:5-73:3, 77:24-78:2.

It does not appear that Dr. Copeland relied upon Dr. Shultz’s unsigned report in

trying to help Plaintiff with her complaint after the ESI. Id., 30:18-43:6, 49:1-56:1.

There is also no evidence of any treating healthcare provider relying on any of the

YSC records in the course of caring for Plaintiff.

      Dr. Shultz joined Anesthesia Partners of Montana (APM) in 1999. Shultz,

9:11-18. He works for APM. Id., 216:22-217:9. Since joining APM he has

practiced at St. Vincent Healthcare. Id., 10:5-8.

      On October 1, 2002, the YSC entered into the Agreement for Anesthesia and

Medical Director Services (Agreement) with APM doctors who would be providing

anesthesia services for patients of surgeons and other doctors treating their patients

at YSC after it opened. Dr. Shultz was identified in the Agreement at Exhibit B as

one of the APM doctors who would be providing anesthesia services for patients of

surgeons and other doctors treating their patients at the YSC after it opened. Thus,

when the YSC opened in November of 2002, Dr. Shultz began practicing there as

an employee of APM. Agreement, Art. 2.1; Shultz, 9:24-11:3. APM bills

separately for the services its employee doctors provide and the YSC charges a

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distinct facility fee. Doc. 38, Ex. 2. There is not an employment agreement

between YSC and Dr. Shultz. Doc. 38, Ex. 5, p. 4: Response to Request for

Production No. 5.

      The Agreement specifically states: “In the performance of professional

services under this Agreement, it is mutually understood and agreed that Contractor

[APM] and Anesthesiologists are at all times performing as independent contractors

practicing the profession of medicine. Surgery Center shall neither have nor

exercise any control or direction over the methods by which Contractor or

Anesthesiologists shall perform Anesthesia Services.” Agreement, Art. 3.4.

      On January 12, 2004, Dr. Shultz applied for staff privileges at the YSC to do

multiple pain management procedures, including cervical ESIs. Doc. 38, Ex. 8. On

February 10, 2004, the YSC credentialing committee approved staff privileges for

Dr. Shultz to do multiple pain management procedures, including cervical ESIs. Id.

      Between March 29 and October 13, 2004, Dr. Shultz did seventeen cervical

ESIs, none which forecast the complaints alleged in this case. Doc. 38, Ex. 9. The

YSC credentialing committee reappraised Dr. Shultz and on November 10, 2004,

again approved his staff privileges for anesthesia and pain management. Doc. 38,

Ex. 8 & 12.




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II.            ANALYSIS

A.    Summary Judgment Standard

      Summary judgment is proper when “the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as

to any material fact and that the movant is entitled to judgment as a matter of law.”

Fed.R.Civ.P. 56(c). An issue is “genuine” only if there is a sufficient evidentiary

basis on which a reasonable fact finder could find for the nonmoving party and a

dispute is “material” only if it could affect the outcome of the suit under the

governing law. Anderson, v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      The party moving for summary judgment has the initial burden of showing the

absence of a genuine issue of material fact. Anderson, 477 U.S. at 256-57. Once

the moving party has done so, the burden shifts to the opposing party to set forth

specific facts showing there is a genuine issue for trial. In re Barboza, 545 F.3d

702, 707 (9th Cir. 2008). The nonmoving party “may not rely on denials in the

pleadings but must produce specific evidence, through affidavits or admissible

discovery material, to show that the dispute exists.” Id.

      On summary judgment, the evidence must be viewed in the light most

favorable to the non-moving party. Id. The court should not weigh the evidence



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and determine the truth of the matter, but determine whether there is a genuine issue

for trial. Anderson, 477 U.S. at 249.

B.    Negligence Claim – Medical Records

      Plaintiffs allege that YSC “. . . failed to maintain accurate, timely and

complete medical records concerning the medical care provided by Dr. Shultz to

Denice” Fabrizius. Id. ¶ 28. Plaintiffs assert that YSC “ . . . caused and contributed

through its negligence to Denice’s post-procedure neurological injury, permanent

disability, and damages.” Id. ¶ 29.

      Plaintiff has the burden of proving (1) the duties, i.e., the standards of care

applicable to the care she says should have been provided (2) that the YSC

breached in a particular way or ways (3) which proximately caused (4) the injuries

and damages claimed. Mont. Code Ann. § 26-1-401; Montana Deaconess Hospital

v. Gratton (1976), 169 Mont. 185, 189, 545 P.2d 670, 672. If the plaintiff fails to

offer proof of one of these elements, the action in negligence fails and summary

judgment in favor of the defendant is proper. Abraham v. Nelson, 2002 MT 94, ¶

11, 309 Mont. 366, ¶ 11, 46 P.3d 628, ¶ 11.

      November 10, 2004, was the only day Plaintiff was at YSC with relation to

this case. With the exception of the unsigned copy of Dr. Shultz’s report found in




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Dr. Copeland’s records, there were no other treating healthcare providers who

received any of the YSC records regarding Plaintiff’s visit.

       Dr. Copeland denies reading reports like Dr. Shultz’s in very close detail

because the information is usually not very pertinent and in all likelihood he already

has the information. Copeland depo. 72:5-73:3, 77:24-78:2. Dr. Copeland did not

rely upon Dr. Shultz’s unsigned report in trying to help Plaintiff with her complaint

after the ESI. Id., 30:18-43:6, 49:1-56:1. There is no evidence that Dr. Copeland or

his office received a copy of the signed report and there is no evidence of any

treating healthcare provider relying on any of the YSC records in the course of

caring for Plaintiff.

       Plaintiff has failed to carry her burden of proof on the causation element. She

has failed to present expert testimony favorable to her records claim. Additionally,

when considering the undisputed facts, the YSC records could not have “caused or

contributed to” the “post-procedure neurological” injury and damages claimed if

subsequent treating physicians did not receive and rely on any of those records to

the detriment of Plaintiff. There is no evidence that the YSC records caused or

contributed to the injury or damages Plaintiff claims.




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C.    Negligence Claim – Clinical Competence

      Plaintiffs have alleged that YSC “caused and contributed to” the injuries and

damages by breaching a duty “to properly monitor and assure the clinical

competence of Dr. Shultz . . .” Second Amended Complaint ¶ 27.

      Dr. Patrick O. Faricy is the expert Plaintiffs rely upon to offer insight into

what is meant by their allegation that YSC failed to “properly monitor and assure

the clinical competence of Dr. Shultz.” According to Dr. Faricy’s disclosure, YSC

failed to assign “a properly credentialed and approved physician proctor to oversee,

supervise, and validate over time the demonstration of clinical competence by the

requesting physician as to new clinical privileges. . .” Doc. 38, Ex. 11, July 27,

2009 report of Dr. Faricy’s opinions.

      It is an issue of law for the Court to determine what if any duties the YSC

owed Plaintiff with regard to the clinical competence of Dr. Shultz. Aasheim v.

Humberger (1985), 215 Mont. 127, 129, 695 P.2d 824, 826. “The custom and

practice of one particular doctor, without knowledge of the general custom and

practice among the profession, cannot establish a reasonable basis to infer that

defendant departed from that practice. Nor does it infer that a doctor who does not

follow that particular practice was negligent.” Collins v. Itoh (1972), 160 Mont.




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461, 471, 503 P.2d 36, 42, followed in Montana Deaconess Hospital v. Gratton,

169 Mont. at 189, 545 P.2d at 672.

      Dr. Faricy provides no reference to evidence or authority that proctoring was

a generally accepted standard of care that was widely used by facilities like the YSC

in 2004. What Dr. Faricy would have done individually if he had been in charge of

credentialing Dr. Shultz and granting pain management privileges does not establish

the standard of care for the YSC in 2004; nor does it infer the YSC was negligent

for not following the proctoring practice he suggests.

      If there was an approved method for credentialing and granting staff

privileges without proctoring, which there was in this case, the YSC cannot be held

liable for selecting and following that method merely because Dr. Faricy thinks YSC

should have followed a proctoring method. Juedeman v. Montana Deaconess

Medical Center (1986), 223 Mont. 311, 321-22, 726 P.2d 301, 307-08; Collins, 160

Mont. at 471, 503 P.2d at 42.

      Plaintiffs have not established that the YSC had a duty in 2004 to proctor Dr.

Shultz before extending staff privileges that allowed him to do cervical ESIs.

Plaintiffs’ evidence does not prove a breach of duty by the YSC, nor does it suggest

that the YSC caused or contributed to any of the injuries or damages claimed.




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D.     Consortium Claim

       William Fabrizius’ consortium claim is derivative of the actions pleaded by

his wife. Mont. Code Ann. § 25-9-411(5)(a)(ii); Mickelson v. Montana Rail Link,

Inc., 2000 MT 111, ¶ 119, 299 Mont. 348, ¶ 119, 999 P.2d 985, ¶ 119. Applying

the Mickelson case, the YSC cannot be liable to William Fabrizius if it is not liable

to his wife on her claims.

III.   CONCLUSION

       Based upon the foregoing, YSC’s Motion for Summary Judgment regarding

Negligence and Consortium Claims [doc. #36] is GRANTED. The Clerk of Court

is directed to notify the parties of the making of this order and terminate YSC as a

party in this case.

       DATED this 4th day of January, 2010.

                                        /s/ Richard F. Cebull_________
                                        RICHARD F. CEBULL
                                        U.S. District Court Judge




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